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 1   Eric K. Fogderude, #070860
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 2   A Professional Corporation
     5412 North Palm Avenue, Suite 101
 3   Fresno, California 93704
     Telephone: (559) 431-9710
 4   Facsimile: (559) 431-4108
 5   Attorney for Defendant STEPHEN EARL PROUT
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT FOR THE
 9                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     ) CASE NO. 04-5244 OWW
                                   )
12             Plaintiff,          ) STIPULATION TO MODIFY PRETRIAL
                                   ) CONDITIONS OF RELEASE FOR
13                                 ) DEFENDANT STEPHEN PROUT AND ORDER
     vs.                           )
14                                 )
     STEPHEN EARL PROUT            )
15                                 )
               Defendant.          )
16   ______________________________)
17
18           On September 20, 2004, Defendant STEPHEN EARL PROUT was
19   ordered released from detention on conditions of release by the
20   Honorable Magistrate Judge Dennis Beck.          Those conditions included
21   not leaving the Eastern District without permission and/or consent
22   of the pretrial service officer and court.
23           Defendant PROUT has successfully remained released on the
24   conditions of release since September 20, 2004.
25           Defendant PROUT seeks permission of the Court to be allowed
26   to attend the Christians United for Israel special conference
27   being held in Washington D.C. on July 16-19, 2007, with related
28   air travel to Washington D.C. to be July 14, 2007 and a return


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 1   trip back home on July 20, 2007.
 2           Mr. Jacob Scott, U.S. Probation Officer is Mr. Prout’s
 3   supervising pre-trial service officer and he is not opposed to
 4   this request and he has requested that a Stipulation and Order be
 5   submitted to the Court.
 6           Assistant U.S. Attorney Stanley Boone is not opposed to this
 7   request.
 8   IT IS SO STIPULATED:
 9   DATED: June 21, 2007                FLETCHER & FOGDERUDE, Inc.
10                                        /s/ Eric K. Fogderude
                                         ERIC K. FOGDERUDE
11                                       Attorney for Defendant,
                                         STEPHEN EARL PROUT
12
13
     DATED: June 21, 2007                _/s/ Stanley Boone
14                                       STANLEY BOONE,
                                         Assistant U.S. Attorney
15
16
17                                        ORDER
18           GOOD CAUSE appearing it is ordered that the Defendant STEPHEN
19   EARL PROUT’s request to leave the Eastern District of California
20   from July 14, 2007 to July 20, 2007 to attend the above described
21   conference in Washington D.C. is granted.
22
23   IT IS SO ORDERED.
24   Dated: June 22, 2007                    /s/ Oliver W. Wanger
     emm0d6                             UNITED STATES DISTRICT JUDGE
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